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                        EXHIBIT C
WebVoyage Record View 1                                              https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi?Search_Arg=PA00019...
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                                  Try the Copyright Public Records System (CPRS) pilot with enhanced
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         Public Catalog
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         Search Request: Left Anchored Copyright Number = PA0001986548
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                                                               I Lied.

                       Type of Work: Music
         Registration Number / Date: PA0001986548 / 2015-11-02
                    Application Title: I Lied.
                                Title: I Lied.
                          Appears in: The Pinkprint recorded by Nicki Minaj, 12/15/2014
                          Description: Compact Disc.
                Copyright Claimant: Sounds from Eardrummers, Transfer: By written agreement. Address: 10585 Santa
                                       Monica Blvd, Los Angeles, CA, 90025, United States.
                                       WB Music Corp, Transfer: By written agreement. Address: 10585 Santa Monica
                                       Blvd, Los Angeles, CA, 90025, United States.
                                       Harajuku Barbie Music, Transfer: By written agreement. Address: street not known,
                                       city not known.
                                       Dat Damn Dean, Transfer: By written agreement. Address: street not known, city not
                                       known.
                    Date of Creation: 2014
                 Date of Publication: 2014-12-15
          Nation of First Publication: United States
          Authorship on Application: Marcus Bell; Domicile: United States; Citizenship: United States. Authorship: music,
                                       lyrics.
                                       Michael Williams; Domicile: United States; Citizenship: United States. Authorship:
                                       music, lyrics.
                                       Ester Dean; Domicile: United States; Citizenship: United States. Authorship: music,
                                       lyrics.
                                       Nicki Minaj; Domicile: United States; Citizenship: United States. Authorship: music,
                                       lyrics.
                              Names: Bell, Marcus



1 of 2                                                                                                                   6/6/23, 12:49 PM
WebVoyage Record View 1                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi?Search_Arg=PA00019...
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                                      Williams, Michael
                                      Dean, Ester
                                      Minaj, Nicki
                                      Sounds from Eardrummers
                                      WB Music Corp
                                      Harajuku Barbie Music
                                      Dat Damn Dean




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